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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-00300-MCE
12                                 Plaintiff,             STIPULATION REGARDING
                                                          EXCLUDABLE TIME PERIODS
13   v.                                                   UNDER SPEEDY TRIAL ACT;
                                                          FINDINGS AND ORDER
14   RYAN HERBERT SMITH, et al.,
15                                 Defendants.
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants, by
19
     and through their counsel of record, hereby stipulate as follows:
20
            1.       At the last status conference on September 27, 2012, the Court ordered this case
21
     continued until January 24, 2013.
22

23          2.       By this stipulation, defendants now move to continue the status conference until

24 March 7, 2013 and to exclude time between January 24, 2013 and March 7, 2013 under Local Code

25 T4. Plaintiff does not oppose this request.

26          3.       The parties agree and stipulate, and request that the Court find the following:
27
            a.       The government has produced over 5,000 pages of discovery to date, which includes
28
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     FBI-302s, interview memoranda, the search warrants and affidavit, redacted transcripts of recorded
 1
     conversations and telephone calls, business records from the Employment Development Department,
 2

 3 and deposition transcripts from the prior civil case. The government has also made available for

 4 inspection and copying at the FBI evidence seized pursuant to the search warrants and business

 5 records that were subpoenaed from various banks. Finally, the government has made available for

 6
     inspection and copying additional business records from the Employment Development Department.
 7
     These records are voluminous.
 8
            b.       Counsel for defendants desire additional time to review and copy discovery for this
 9

10 matter and to conduct additional investigation.

11          c.       Counsel for defendants believe that failure to grant the above-requested continuance

12 would deny them the reasonable time necessary for effective preparation, taking into account the

13 exercise of due diligence.

14
            d.       The government does not object to the continuance.
15
            e.       Based on the above-stated findings, the ends of justice served by continuing the case
16
     as requested outweigh the interest of the public and the defendant in a trial within the original date
17

18 prescribed by the Speedy Trial Act.

19          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

20 seq., within which trial must commence, the time period of January 24, 2013 to March 7, 2013

21
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
22
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
23
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
24
     public and the defendant in a speedy trial.
25

26          5.       Nothing in this stipulation and order shall preclude a finding that other provisions of

27 the Speedy Trial Act dictate that additional time periods are excludable from the period

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     within which a trial must commence.
 1
     IT IS SO STIPULATED.
 2

 3
     DATED:                     January 18 2013.
 4

 5                                                 /s/ Jared C. Dolan___________________
                                                   JARED C. DOLAN
 6                                                 Assistant United States Attorney
     DATED:                     January 18, 2013
 7

 8                                                 /s/ Jared Dolan for____________________
                                                   JOHN MANNING
 9                                                 Counsel for Defendant Ryan Smith
     DATED:                     January 18, 2013
10
                                                   /s/ Jared Dolan for      _____________
11                                                 CHRIS HAYDN-MYER
                                                   Counsel for Defendant Chindo Gharu
12 DATED:                       January 18, 2013

13
                                                   /s/ Jared Dolan for_____________________
14                                                 MICHAEL BARRETT
                                                   Counsel for Defendant Rajinder Dhillon II
15 DATED:                       January 18, 2013

16
                                                   /s/ Jared Dolan for______________________
17                                                 SHARI RUSK
                                                   Counsel for Defendant Balwinder Khangura
18

19

20                                                       ORDER

21
                           IT IS SO ORDERED.
22
     Dated: January 24, 2013
23
                                                      _________________________________________
24                                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT
25

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     DEAC_Signature-END:




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